Case: 6:14-cr-00037-GFVT-HAI Doc #: 514 Filed: 11/01/17 Page: 1 of 2 - Page ID#:
                                    10255



                          UNITED STATES COURT OF APPEALS
                               FOR THE SIXTH CIRCUIT
                               100 EAST FIFTH STREET, ROOM 540
   Deborah S. Hunt            POTTER STEWART U.S. COURTHOUSE                     Tel. (513) 564-7000
       Clerk                      CINCINNATI, OHIO 45202-3988                   www.ca6.uscourts.gov


                                       Filed: November 01, 2017


Ms. Christy J. Love
Law Office
333 N. Main Street
Suite B
London, KY 40741

                Re: Case No. 17-6239, USA v. James Chaney
                    Originating Case No. : 6:14-cr-00037-1

Dear Counsel,

   This confirms your appointment to represent the defendant in the above appeal under the
Criminal Justice Act, 18 U.S.C. § 3006A.

   You must file your appearance form and order transcript within 14 days of this letter. The
appearance form and instructions for the transcript order process can be found on this court's
website. Please note that transcript ordering in CJA-eligible cases is a two-part process,
requiring that you complete both the financing of the transcript (following the district court's
procedures) and ordering the transcript (following the court of appeals' docketing
procedures). Additional information regarding the special requirements of financing and
ordering transcripts in CJA cases can be found on this court's website at
http://www.ca6.uscourts.gov/criminal-justice-act under "Guidelines for Transcripts in CJA
Cases."

    Following this letter, you will receive a notice of your appointment in the eVoucher
system. That will enable you to log into the eVoucher system and track your time and expenses
in that system. To receive payment for your services at the close of the case you will submit
your voucher electronically via eVoucher. Instructions for using eVoucher can be found on this
court's website. Your voucher must be submitted electronically no later than 45 days after the
final disposition of the appeal. No further notice will be provided that a voucher is
due. Questions regarding your voucher may be directed to the Clerk's Office at 513-564-7078.

    Finally, if you become aware that your client has financial resources not previously disclosed
or is no longer eligible for appointed counsel under the Criminal Justice Act, please contact the
Clerk or Chief Deputy for guidance.

                                       Sincerely yours,
Case: 6:14-cr-00037-GFVT-HAI Doc #: 514 Filed: 11/01/17 Page: 2 of 2 - Page ID#:
                                    10256




                                s/Ken Loomis
                                Administrative Deputy
                                Direct Dial No. 513-564-7067

cc: Mr. Robert R. Carr
    Mr. James Alvin Chaney
    Ms. Briston S. Mitchell
    Mr. Roger W. West
    Mr. Charles P. Wisdom Jr.
